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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION

  THE STATE OF LOUISIANA,
  By and through its Attorney General, Jeff
  Landry,

                                       PLAINTIFF,

  v.

  UNITED STATES ENVIRONMENTAL                        CIVIL ACTION NO. 2:23-cv-00692
  PROTECTION AGENCY; et al.,

                                    DEFENDANTS.



                                         [Proposed] Order

         The Court has considered Louisiana’s Request for Judicial Notice. The Request is

 GRANTED. Pursuant to Fed. R. Evid. 201, the Court takes judicial notice of the Title VI complaint

 proffered by Louisiana, EPA’s October 3, 2023, acceptance of that complaint for investigation, and

 the contents of those documents. The Court does not take judicial notice of the truth of the factual

 assertions therein.



         Signed this ___ day of _________________, 2023



                                                      __________________________________
                                                              JAMES D. CAIN, JR.
                                                       UNITED STATES DISTRICT JUDGE
